Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 1 of 30

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 2 of 30
STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South’ Pecos Road March 20, 2007
Las Vegas, NV 89121 , Invoice No. 359472

For Legal Services Rendered Through February 28, 2007

Thomas J. Allison
Matter No. 34585-00025

FTD - Case Adminstration
02/05/07 S Cummings .40 Review of FIDF motion to estimate reserve
amounts.

02/06/07 P Hunt -20 Compile FTDF objection documents to draft
declarations in support (.2).

Strong . .40 Telephone conference with A. Parlen regarding
objections to proofs of claim and interest
against FTDF (0.3); analyze same (0.1).

mM

02/12/07

02/13/07 § Strong .60 Review and approve 3 proposed orders from C.
, Carlyon regarding proofs of claim/interest
against FTDF (.6).

02/14/07 S Strong .20 Telephone conference with A. Parlen regarding
status of FTDF Committees omnibus objections
to claims against FTDF (.2).

Strong -40: Review status of objections to FTDF
claims/interests (0.3); telephone conference
with A. Parlen regarding same (0.1).

02/27/07

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Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 3 of 30

Client No. 34585 Page: 2
Debtor USA Commercial Mortgage Co., et al. March 20, 2007

02/28/07 S Strong 1.50 Review FTDF tax return issues (0.2);
participate in telephone conference with FTDFC
counsel M. Wallace, KPMG, S. Smith and K. J.
Applegate regarding FTDF tax return and

distributions issues (0.6); further analysis of

tax return issues (0.7).

TOTAL FOR LEGAL SERVICES RENDERED $1,014.50

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 4 of 30

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38
STATEMENT OF ACCOUNT

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‘FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

For Legal Services Rendered Through February 28, 2007

Thomas

Jd. Allison

Matter No. 34585-00020

Diversified Commettee Relations

Page 5 of 30

March 20, 2007
Invoice No. 359469

02/01/07 A Jarvis

02/01/07 A Jarvis

02/01/07 E Monson
02/01/07 S Strong
02/02/07 A Jarvis

02/02/07 S Strong

02/06/07 A Jarvis

.10 Draft memorandum to committees regarding
revised motion to dismiss, open issues for
discussion.

.20 Conference call with Committees regarding
motion to dismiss, plan and closing issues.

.20 Follow-up on request from DTDF. regarding
request for access to documents and response
thereto.

.20 Participate in conference call with committees’
and debtors’ professionals regarding appellate
issues and sale closing issues (.8).

.32 Committee call.

.33 Participate in telephone conference with

committees and debtors professionals
regarding pending appeals, loan servicing
issues, sale closing issues, and transition
issues (1.3).

.80 Conference call with Diversified Committee
regarding Colt loans.

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Debtor
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02/13/07
02/19/07

02/19/07

02/20/07

02/21/07

Case 06-10725-gwz

No. 34585

USA Commercial Mortgage Co., et al.

A Jarvis
A Jarvis
A Jarvis

S Strong

A Jarvis

E Monson

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S Strong

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Page 6 of 30

Page: 2
March 20, 2007

Conference call with Committees regarding
transition plan, appeals.

Correspondence on transition meeting with USACM
Trust and Diversified Committee (.3).

Conference call with Diversified Committee and
ucc regarding Colt loans (.8).

Participate in conference call with committees
and debtors counsel regarding pending appeals,
pending asset sale, and transition issues (.7).

Draft memo to committees regarding status of
discussion with Compass, lease issues. ,

Discussion with C. Harvick regarding issues
involving original DIDF subscription agreements
and assignments.

Conference call with Committees regarding
licensing, closing issues.

Participate in conference call with debtors
and committees professionals regarding closing
pending sale to Compass (.8).

Telephone conference with Diversified
Committee and UCC regarding Colt loans.

Conference call with Committees regarding
licensing, purchase price adjustment issues.

Correspondence on calls with Committees on
Compass closing, 1142 motion.

Meet with T. Allison and S. C. Strong to
prepare for meeting with DTDFC and UCC (.4);
meet with UCC and DTDFC to go over transition
issues (3.4); post meeting discussions with
client (.8).

Meet with UCC and Diversified Committee and
with client regarding transition issues.

Conference call with Committees regarding new
motion to stay, 1142 motion.
Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 7 of 30 .

Client No. 34585 Page: 3
Debtor USA Commercial Mortgage Co., et al. March 20, 2007
02/21/07 S Strong . .33 Participate in teleconference with committees

and debtors professionals regarding LPGs new
‘motion for stay pending appeal, draft of second °
motion regarding Plan implementation, and other
transition issues (1.3).

02/22/07 A Jarvis .30 Telephone conference with M. Levinson
regarding Colt discussions, pending
litigation involving Diversified.

02/23/07 A Jarvis .10 Correspondence with Diversified Committee
, regarding Colt negotiations.
02/23/07 A Jarvis .13 Conference call with Committees on response to
motion to stay.
02/23/07 A Jarvis .05 Correspondence with committees on Colt payoff
(.2).
02/23/07 A Jarvis .05 Correspondence with committees on letter to

Tabas on Colt loan (.2).

02/23/07 A Jarvis .10 Correspondence with committees regarding
outside date for financing in Colt Gateway

(.4).

02/23/07 A Jarvis .05 Correspondence with committees regarding new
letter to B. Bullard (.2).

02/27/07 A Jarvis -.30 Correspondence with Committee regarding Colt
Gateway payoff, motion to approve.

‘TOTAL FOR LEGAL SERVICES RENDERED $3,147.88
Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 8 of 30

Case 06-10725-gwz

Doc 3602-2 Entered 04/26/07 16:54:38

Page 9 of 30
STATEMENT OF ACCOUNT

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FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.

Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

March 20, 2007
Invoice No. 359473

For Legal Services Rendered Through February 28, 2007

Thomas J. Allison

Matter No.

34585-00026

Diversified-Case Administration

- 02/01/07

02/01/07

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02/02/07
02/02/07
02/02/07

02/05/07

02/05/07

02/05/07

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Correspondence .on Prospect High Income appeal.

Conference with R. Walker and E. A. Monson
regarding Colt, documents, Reale litigation.

Bates labels for production of documents.
Correspondence on motion to sell in Tree Moss.
Correspondence regarding Tree Moss sale.
Document production HMA/Salvatore.

Review bid procedures proposed by trustee,
response of DIDF Committee and correspondence
regarding preparation of joinder.

Analyze outstanding issues in HMA litigation.

Review trustees proposed bidding procedures in
Tree Moss involuntary and analyze grounds for
objecting (0.3); review draft of Diversified
Committees objection to same and emails from
J. Hermann, M. Levinson and A. Loraditch
regarding same (0.2); review emails from A. W.
Jarvis, B. J. Kotter and L. Dorsey regarding
DTDFs joinder in Committees objection (0.1).

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 10 of 30

Client No. 34585 Page: 2
Debtor USA Commercial Mortgage Co., et al. March 20, 2007
02/06/07 K Glade 2.20 Conference call with Diversified Fund to

discuss Colt Gateway issues (0.9); review
information provided by Diversified’ Fund
regarding Colt Gateway payoff and
undocumented Colt loans (0.5); conference
call with Mesirow regarding Colt Gateway
issues (0.8).

' 92/06/07 A Jarvis .20 Correspondence on Colt loans.
02/06/07 A Jarvis .70 Conference call with client regarding. Colt
loans.
02/06/07 A Jarvis .20 Correspondence on joinder on objection to

retention of counsel.

02/06/07 A Jarvis 1.50 Review pleadings on Tree Moss auction/bid
procedures motion and prepare for hearing.

02/06/07 D Monson .20 Review A. Jarvis and Diversified Committee
e-mails on Colt Gateway Loan (0.2).

02/07/07 A darvis .20 Conference with C. Harvick regarding original
Diversified documents and correspondence with
S. C. Strong regarding same.

02/07/07 A Jarvis -70 Conference call with J. Chubb and B. Bullard
regarding Colt Gateway discussions, payoff.

02/07/07 A Jarvis .20 Telephonejcall with J. Chubb regarding motion
for relief from stay, discovery issues on
Colt Gateway.

02/07/07 A Jarvis .50 Review revised bid procedures, contract in

Tree Moss case.

02/07/07 A Jarvis 1.00 Attend hearing on Tree Moss bid procedures
and discussion with parties on issues
thereafter.

02/07/07 S Strong .30 Review proposed order regarding misfiled

claims against DTDF and compare motion
regarding same (0.2); email to A. Loraditch
_ approving same. (0.1).

02/08/07 D Monson .10 Analyze collection of garnishments on
Diversified judgment (0.1).
Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 11 of 30

Client No. 34585 Page: 3

Debtor USA Commercial Mortgage Co., et al. March 20, 2007
02/08/07 S Strong ' (30 Review another proposed order from A.

Loraditch regarding misfiled claims against
DIDF (0.2); email to A. Loraditch regarding
same (0.1). ,

02/09/07 K Glade .30 Analyze Colt Gateway issues (0.3).
02/09/07 A Jarvis .20 Correspondence regarding Colt loans.

02/09/07 S Strong - .70 Review Colt Gateway proposed payoff issues
(0.1); analysis of issues for proposed motion
to accept payoff (0.3); review email from d.
Bart regarding same (0.1); telephone conference
with L. Bubala regarding same (0.1); review
email from M. Levinson regarding same (0.1).

02/10/07 A Jarvis .30 Telephone conference with M. Levinson
regarding Colt loans.

02/10/07 A Jarvis .30 Correspondence on Colt loans.

02/11/07 K Glade .30 Review materials regarding Colt Gateway and
Diversified’s claims with respect to
undocumented loans (0.3).

02/12/07 K Glade 2.30 Review Diversified materials and analysis
regarding Diversified’s claims on Colt
Gateway (1.4); related e-mail to A. Jarvis
with Diversified materials and analysis and
loan documents on Colt Gateway (0.9).

02/13/07 A Jarvis .20 Follow-up on HFA litigation.
02/15/07 A Jarvis .50 Correspondence on Colt offer.
02/15/07 A Jarvis .20 Correspondence regarding results of status
conference on HMA litigation.
02/17/07 A Jarvis .20 Correspondence with E. A. Monson regarding
mediation.
02/19/07 S Strong .50 Participate in telephone conference with

Diversified Committee lawyers regarding
discovery issues in HMA/Royal litigation (.5).
Client
Debtor

02/19/07

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TOTAL FOR LEGAL SERVICES RENDERED

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 12 of 30

No. 34585
USA Commercial Mortgage Co., et al.

S Strong

A Jarvis

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A Jarvis

A Jarvis

EB Monson

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Page: 4
March 20, 2007

Review status of Colt Gateway potential
payoff proposal (0.1); confer with M.
Levinson, J. Hermann and M. Tucker regarding
same (0.5).

Correspondence on requested deposition of T.
Allison by IP in Investors VI.

Correspondence on Diversified litigation.
Correspondence on Sheraton collections.

Corresponderice on HMA litigation, depositions

relating to same.

Review correspondence files on DTDFC loans to

determine documents that should be turned

over to DTDFC.

$8,051.00
Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 13 of 30

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38
, STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER

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TELEPHONE (801) 532-1500
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FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

For Legal Services Rendered Through February 28, 2007

Thomas

J. Allison

Matter No. 34585-00029

Sub-Servicing (Compass)

Page 14 of 30

March 20,

Invoice No.

2007

02/20/07 S Strong

02/21/07 S Strong

02/22/07 S Strong

02/22/07 S Strong

02/26/07 B Kotter

02/27/07 S Strong

TOTAL FOR LEGAL SERVICES RENDERED $782.

1.

.30 Analyze sub-servicing issues under agreement

with Compass (0.3).

40 Telephone conference with T. Lomazow and G.
Bradley of Compass regarding sub-servicing
issues (0.4); telephone conference with S.
Smith regarding same (0.2); participate in
telephone conference with D. Blatt, S. Smith,
T. Lomazow and G. Bradley regarding same (0.8).

.20 Telephone conference with T. Lomazow

regarding Mesirows insurance coverage for
sub-servicing. (.2).

10 Telephone conference with S. Smith regarding

sub-servicing issues (.1).

.20 Work on Compass sub-servicing allocation.

.60 Review voice mail from S. Smith regarding

sub-servicing issues (0.1); draft email to .
Compass counsel regarding status of Compasss
efforts with MLD (0.3); telephone conference
with T. Lomazow regarding same (0.1); review
email from G. Bradley regarding same. (0.1).

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Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 15 of 30

Gase-96-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 16 of 30

STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

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TELEPHONE (801) 532-1500 |
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

2007
360297

April 10,
Invoice No.

For Legal Services Rendered Through March 12,, 2007

Thomas

Matter No.

J. Allison

34585-00001

Case Administration

- 03/01/07

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03/02/07

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03/02/07

S Cummings 3.

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E Monson Follow-up on Hilco appraisal requests.

E Monson .10 Review e-mail regarding request from FTI
regarding document index and send e-mail to
T. Allison and S. Smith regarding same.

.60 Analysis of spreadsheet of revised Unxremitted
Principal amounts (0.3); analysis regarding
objections or amendments to prior USACM

schedules needed regarding same (0.3).

S Strong

30 Further analysis of schedule .
amendment /objection issues (0.9);
S. Smith and A. W. Jarvis regarding
objections or amendments needed to
correct/update amounts scheduled for
Unremitted Principal claims (0.2); telephone

conference with S. Smith regarding same (0.2).

S Strong 1.
us email to

Continued processing of Hilco appraisal
requests.

S Cummings .90 Analysis regarding schedule amendment issues.
Discussion with S. Strong and S. Smith

regarding schedules to be amended.

S Cummings .30

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Client
Debtor

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No. 34585
USA Commercial Mortgage Co., et al.

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Page: 2

Correspondence with M. Violet regarding Hilco
appraisal request.

Correspondence with B. Esscoff regarding
Hilco appraisal request.

Correspondence with K. Allison regarding
Hilco appraisal request.

Follow-up regarding Hilco requests and send
e-mail to A. W. Jarvis regarding same.

Review e-mail regarding Hilco requests.

Review e-mail from FE. Madden regarding local
appraisal firm and forward to T. Allison.

Review email from R. Charles regarding
Schedule G amendments proposed (0.1); review
prior versions of Schedule G (contracts)
filed by USACM and analysis of issues. raised
concerning LSAs (0.3); participate in
conference call with R. Charles, S. Freeman,
G. Berman and S. Smith regarding same (0.1).

Review all dockets; update deadline
calendars; distribute to pertinent parties
(.9); assist P. Hunt with general document,
pleading organization and working binders Eor
appeals (1.1).

Correspondence on Windham Hills.

Further analysis regarding schedule amendment
issues.

Discussion with E. Wooley regarding schedule

amendment issues.

Discussion with J. Miller regarding Schedule
F amendment issues.

Analyze claims designated as disputed.

Continued processing of Hilco appraisal
requests.

April 10, 2007

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Client No. 34585
Debtor USA Commercial Mortgage Co.,

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Page: 3
et al.

Correspondence regarding claims designated as
disputed.

Correspondence regarding lease rejection
claims.

Review of draft amended Schedule E.

Correspondence with A. Hosey regarding
amendment cover sheet.

Review and revisions of notes for schedule
amendments.

Correspondence on investor inquiry on Windham
loan.

Review and revise notes to amended schedules.

Correspondence regarding contact person for
investors at Compass.

Review correspondence from local counsel
regarding filings.

Phone call to Vineyard Bank attorney on
inquiry on effective date of Plan (0.1).

Review e-mails from Diamond McCarthy
regarding preservation letters.

Draft e-mail to S. Smith regarding employee
list.

E-mail L. Weese and A. W. Jarvis regarding
interview on Thursday and e-mail reply and
send follow up e-mail.

Follow-up regarding Hilco appraisal requests.

Confer with S. A. Cummings regarding

‘amendments to USACM schedules of claims

(0.2); telephone conference with A. Hosey
regarding same (0.2); telephone conference
with J. Miller, S. Smith, E. Wooley, S. A.

April 10, 2007

Gase-06-10725-gwz—Bee3602-2 Entered 04/26/07 16:54:38 Page 19 of 30
Client No. 34585 Page: 4
Debtor USA Commercial Mortgage Co., et al. April 10,

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Cummings and A. Hosey regarding preparation
of amended schedules (0.3); further review of
issues regarding same (0.7); arnialysis for and
drafting of proposed Explanatory Notes and
Reservation of Rights for same (2.2); emails
to R. Charles, S. Freeman, S. Smith, J.
Miller and local counsel regarding same (0.2).

Continued processing of Hilco appraisal
requests.

Continued review and revision of notes for
schedule amendments.

Review and revision of amended schedules.

Review and revision of cover sheet for
amended schedules.

with E. Wooley regarding
principal owed on SVRB loan.

Discussion
unremitted

Discussion with E. Wooley regarding claims

designated as disputed.

Discussion with A. Hosey regarding amended

schedule F issues.

Discussion with J. Miller regarding amended
schedule F issues.

Discussion with S. Smith regarding amended

Schedule F issues.

Correspondence regarding claims designated as
disputed. . ,

Discussion with S. Strong regarding filing
format for amended schedules. —

Correspondence regarding schedule amendment
filing.

Correspondence regarding amendment cover
sheet.

Correspondence on amendments to schedules.

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Client
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Page: 5

et al. April 10, 2007

Correspondence on interviews with employees.

Further correspondence on interviews with
employees.

Review e-mails from L. Weese.

Review status of federal investigation of -USACM
and its prior principals and recent questions
raised by investigators (.3).

Continue work on reviewing, editing and
finalizing second set of amendments to USACM
schedules (Schedules E, F, F-1, F-2 and G) and
Explanatory Notes for same (3.0); telephone
conference with J. Miller regarding same (0.2);
email near-final draft of same to Mesirow, BMC
and local counsel, with comments, for final
review (0.2).

Review issues scheduled for March 15 omnibus

hearing (0.4).

Correspondence with L. Poelman regarding
Hilco appraisals.

Correspondence regarding amended schedules.
Review and revision of amended schedules.
Respond to e-mail regarding Pecos.

Review regarding inquiry £rom UCC on Pecos
Professional Park and review e-mails regarding
same.

Exchange emails with EH. Wooley, J. Miller and
S. Smith regarding final edits to Amended
Schedules for USACM (0.3); review final set
of Amended Schedules (0.3); exchange emails
with S. Smith and A. Hosey regarding filing
of same (0.1).

Client
Debtor

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“Case 06-10725-gwz

No. 34585

USA Commercial Mortgage Co., et al.

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Page:
April 10,

Doc 3602-2 Entered 04/26/07 16:54:38 Page 21 of 30

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2007

Review email request from S. Freeman ‘regarding
information concerning USACM landlord Pecos
Partners (0.1); review and analyze information
regarding same (0.9); draft email to S. Freeman
explaining and transmitting information
regarding same (0.2).

Continued processing of Hilco appraisal
requests.

Telephone conference with E. A. Monson and §.
Smith regarding computers, documents,
distribution issues.

Analysis regarding claims issues, questions
raised by Trust.

Call L. Schwartzer regarding response to
Hokey letter.

Discussion with M. Stone regarding interview
process.

Discussion with A. W. Jarvis and S. Smith
regarding transition issues.

Review lengthy e-mail from A. W. Jarvis
regarding transition issues and replies from
RON team.

Outline regarding remaining transition issues
to address (0.4); review services to be
performed for post-effective date debtor
entities (0.1); review plan implementation
motions and orders (0.2); analysis regarding ©
resolution of BMC allocation issue (0.1).

Review'email from S. Smith with spreadsheet
of proposed distributions of funds on
effective date (0.2); email to S. Smith
regarding same (0.1).

Brief review and download of docket Eor
upcoming dates for calendar.

Review regarding information on DMC issues and
send replies.

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TOTAL FOR LEGAL SERVICES RENDERED

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et al. April 10, 2007

Review and analysis of issues concerning
allocation of BMC invoices (0.7); review plan
implementation motion and order addressing
resolution of inter-debtor disputes concerning
BMC invoices (0.3).

Review and edit draft of memorandum from A.
W. Jarvis to-R. Charles concerning
post-effective date issues and coordination

(.4).

Discussion with M. Violet regarding Hilco
appraisal request.

Correspondence with M. Violet regarding Hilco
appraisal requests.

Continued processing of Hilco appraisal
requests.

Work on Pending Litigation Notice to Compass
(0.3); review draft letter to Compass on
Pending Litigation Notice (0.1).

Review emails “Erom committees counsel and A.
W. Jarvis regarding issues concerning
proposed order for continued employment of
debtors professionals (0.1); review motion.
filed in Jan. 2006 regarding same and prior
employment orders (0.3); exchange emails with
dg. McPherson regarding revised language for
proposed order regarding same (0.2).

Review and revise chart from M. W. Pugsley
regarding post-effective-date entities and
attorney/client privileges (0.2); email to M.
W. Pugsley regarding same (0.1).

Download updated docket; update tickler
calendar and organize documents.

$10,694.50

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 23 of 30

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STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007
Las Vegas, NV 89121 Invoice No. 360298

For Legal Services Rendered Through March 12, 2007

Thomas

Matter

Jo. Allison

No. 34585-00002

Asset Analysis and Recovery

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E Monson .60 Preparations for telephonic hearing and

review Nevada pre-judgment writ statute on
bonds.

E Monson 1.70 Participate in hearing on Investors VI on HMA.

EB Monson .90 Conversation with J. McPherson and A. W.
Jarvis regarding events at hearing.

EB Monson .90 Analysis regarding issues raised by court at
hearing and review e-mails regarding course of
action.

BH Monson .10 Review memo from J. McPherson regarding Dec.
7th hearing.

E Monson .20 Review letter from K. Kopf and forward to UCC
and DTDFC.

E Monson .90 Discussions with P. Bruggemans, G. LaForge

, and G. Brennan regarding HMA litigation and
send e-mail to UCC and DTDFC regarding same
and review e-mails from Schwartzer &
McPherson.

EB Monson .40 Follow up on Reale tracing and e-mails back

and forth with L. Buck regarding same.

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April 10, 2007

Review e-mail from D. Belt regarding additional
information to request from Wells Fargo.

Review several e-mails regarding HMA
depositions and send replies.

Discussion with D. Gerrard regarding
depositions.

Review amended deposition notices and
circulate.

Review disc from L. Bauck regarding tracing
information and forward to UCC and DTDFC and

review e-mail replies.

Follow-up e-mail to Schwartzer’s office
regarding interrogatory responses and requests

' for admission.

Draft e-mail regarding missing information from
Reale document production and discuss with D.
Gerrard and review reply e-mail and attachment
from D. Gerrard.

Follow-up regarding HMA depositions.

Review e-mail from S. Don regarding whether
there have been documents produced from
USAREG, Hantges and Milanowski and send reply.
Review answers to complaint from A. Abolafia.

Call C. Larsen to discuss HMA issues.

Follow up on additional documents needed from
Wells Fargo and review e-mails regarding same.

Review e-mail from C. Larsen regarding HMA
discovery and send reply.

E-mail correspondence from J. Hermann regarding
depositions of J. Milanowski, J. Hantges and

‘Investors VI.

Evaluation of Tanamera transaction proposed by
IP (.1).

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0725-gwz- Doc 3602-2 Entered 04/26/07 16:54:38 Page 26 of 30

No. 34585
USA Commercial Mortgage Co., et al. April 10, 2007

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Review bankruptcy information regarding
Wyndham Mills and HFA Asylum loan (0.5); memo
to A. W. Jarvis regarding same (0.2).

Review information regarding Huntsville (0.2);
communicate with T. Lomazow regarding
Huntsville (0.2); letter to attorney for
Hunteville ist lienholder (1.3); telephone
conference with M. Duncan, attorney for first
lienholder (0.2); telephone conference with M.
Anglin (0.2); communicate with attorney for
Diversified (0.2); review plan and stay issues
raised by first lienholder (0.8).

Conference call with counsel for DTDFC, T.
Allison, A. W. Jarvis, to discuss HMA and
Investors VI issues.

Work on drafting declaration to provide
foundation for documents to be introduced at
trial in Investors VI case.

Conference with J. Hermann and C. Harrick
regarding issues relative to upcoming trial
in Investors VI.

Review file and put together documents in
connection with Investors VI trial.

Discussion with P. Cheng regarding Investors
VI documents and review e-mail from P. Cheng
and attachments.

Send copy of T. Allison documents to C.
Harrick.

Locate and send pleadings on motion to
dismiss to counsel for DTDFC.

Review e-mails from J. Hermann regarding HMA
litigation and deposition schedule.

Discussions with P. Cheng and L. Bouck
regarding tracing issues and review e-mail
and information from P. Cheng regarding same.

Review e-mail from D. Belt.

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Case 06-10725-gwz

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USA Commercial Mortgage Co., et al.

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Doc 3602-2 Entered 04/26/07 16:54:38 Page 27 of 30

Page: 4

Review deposition notices in HMA and review
objection to Abolofia deposition.

Review e-mail from J. Hermann regarding Fogg
documents.

Review e-mail from L. Harrick regarding
Sheraton documents.

Review e-mails from E. Madden regarding name
of appraiser and tracing information.

Review motion for relief filed by AICCO in
Tree Moss case.

Review answer to involuntary petition and
creditor list in Investors VI.

Review general e-mails from J. Hermann
regarding issues relating to Investors VI
involuntary case and send replies.

Review e-mail from A. W. Jarvis and discuss
timing of trial and conference call to T.
Allison.

Review documents that may be relevant to
Investors VI trial and additional documents
received from P. Cheng.

Discussion with P. Chang regarding documents.

Review e-mails on document dispute in
preparation for status conference with court.

Discussion with J. Hermann regarding
Investors VI.

Draft e-mail to P. Hunt regarding custodian
of records declaration. .

Brief review of hearing transcript of March
2nd hearing on Investors VI. ~

Draft e-mail and call H. Stone regarding
tomorrow's meeting.

April 10, 2007

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€ase’06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 28 of 30

No. 34585 Page: 5

USA Commercial Mortgage Co., et al. April 10, 2007

E Monson .10 Review e-mail from A. W. Jarvis regarding
same.

E Monson .20 Draft e-mails to E. Madden and T. Allison
regarding name of appraisal firm used by
USACM.

EB Monson .10 Review reply from T. Allison.

EB Monson .10 Draft e-mail to J. Reed regarding DTDF
correspondence.

E Monson .20 Draft e-mail to S.. Smith regarding Del Bunch
document requests.

BE Monson .20 Review reply and send response.

E Monson .50 Review regarding issues relative to IP $58

million note and review e-mails regarding same.

EB Monson .80 Work on binder and timeline in connection
with HMA litigation.

E Monson .20 Discussions with C. Hurst regarding bate
stamping additional records of Mt. Vista and
10-90 to produce to S. Reale.

E Monson .20 Review and revise letter to D. Gerrard and
further discussion with C. Hurst regarding
production.

E Monson .60 Review e-mails from L. Schwartzer regarding

requests for admission to Reale and send
replies and forward to counsel for the UCC
and DIDF and review replies and send reply
e-mails.

EB Monson .30 Discussion with A. Hosey regarding follow up
on Wells Fargo document subpoena and send
follow up e-mail regarding same.

E Monson .20 Further discussion with A. Hosey regarding
WElls Fargo subpoena and review e-mail
regarding same.

E Monson .10 Send reply e-mail to D. Belt regarding Wells
Fargo documents.

Case 06-10725-gwz Doc 3602-2 Entered 04/26/07 16:54:38 Page 29 of 30

Client No. 34585 . Page: 6
Debtor USA Commercial Mortgage Co., et al. April 10, 2007
03/07/07 E Monson .30 Review and circulate 2nd part of Reale
tracing documents to UCC and DTDFC.
03/07/07 EB Monson .10 Send e-mail to P. Chang regarding additional
checks produced by Reale.
03/07/07 E Monson .10 Send e-mail to D. Gerrard regarding possible
missing checks in Reale production.
03/07/07 E Monson _40 Draft e-mail to J. McPherson regarding
declaration to support prejudgment writ
motion.

03/07/07 S Strong .70 Confer with A. W. Jarvis regarding letter. from

HFA/Colt regarding proposed payoff (0.1);
prepare draft of "Supplement" to Colt loan
payoff motion to submit letter to court (0.4);
telephone conferences with A. W. Jarvis and A.
Hosey regarding filing same (0.2).

03/08/07 BE Monson .20 Get copies of documents produced to D.
Gerrard circulated to counsel for the UCC and
DIDFC.
03/08/07 E Monson . (10 Draft e-mail to R. Walker regarding documents.
03/08/07 E Monson 4.60 Work on timeline on putting together documents

for T. Allison declaration.

03/08/07 E Monson. .50 Follow up on cost of shipping Sheraton
documents and send e-mail to C. Harrick
regarding same and send reply to facilitate
shipping thereof.

03/08/07 S Tingey .30 Communicate with L. Weese and S. Smith
regarding Sheraton garnishment .

03/09/07 B Monson .90 Review draft of brief prepared by the DTDFC
in opposition to motion to dismiss and send
comments to C. Larsen.

03/09/07 EB Monson .30 Review e-mail regarding filing of opposition
brief as well as e-mails regarding opposition
pleadings filed by defendants in the HMA case.

03/09/07 S Strong .40 Locate and review documents for A. W. Jarvis
to assist in preparation of T. Allison for
deposition in HMA Sales litigation (.4).

Case 06-10725-gwz Déc' 3602-2 Entered 04/26/07 16:54:38 Page 30 of 30

Client No. 34585 Page: 7
Debtor USA Commercial Mortgage Co., et al. April 10, 2007
03/11/07 S Strong 1.10 Exchange emails with A. W. Jarvis regarding

additional documents and information needed
to assist T. Allison with preparations for
his deposition in HMA Sales litigation (0.2);
locate and review additional documents and
information and send via email to A. W.
Jarvis (0.9).

03/12/07 K Glade .50 E-mail to A. Jarvis regarding 10-90 Inc.
documentation and dates (0.5).

03/12/07 E Monson .30 Review e-mails from A. W. Jarvis regarding T.
Allison deposition and send replies.

03/12/07 S Strong _ .90 Exchange emails with A. W. Jarvis regarding
information and assistance needed in preparing
to defend deposition of T. Allison in HMA Sales
litigation (0.2); review and send relevant
information to A. W. Jarvis regarding same
(0.5); telephone conference with A. W. Jarvis’
regarding T. Allison deposition (0.2).

TOTAL FOR LEGAL SERVICES RENDERED $10,833.00

